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Michael E. Barnhart

424 East Main Street

Pc)tterville, Michigan 48876
Phone: 517-202-]189

Ernail: rntb_“trucking@yahoo.corn

Plaintiff in Pro Se

MICHAEL BARNHART
Plaintiff,

VS.

DOES 1-10, inclusive

Defendants

NATIONSTAR MORTGAGE, LLC; and

 

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WESTERN DISTRICT OF M§CH|GAN

1:15-cv-627
Janet T Neff

SCANNED BY

/Q)Q//§'

U.S. District Judge

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

Case NO. :

VERIFIED COMPLAINT F<)R
DAMAGES, RESTITUTION, AND
INJUNCTIVE RELIEF

1. VIOLATION OF FA:R DEBT
COLLECTION PRACTICES ACT;

2. ACCOUNTLNG;

3. lNTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS;

4. MIUNCTIVE RELIEF; and

5. QUiET TiTLE

DEMAND FOR TRIAL BY JURY

 

times a resident cf the county OfEatOn.

COl\/IES NO\V Plaintiff, Michael Barnhart (“Plaintiff’) and for his Cornplaint against
Det`endant Nationstar Mortgage, LLC; and DOES l-lO plaintiff alleges as follows:
PARTIES
l. Plaintiff l\/liehael Barnhart (“BARNHART”) is an individual, and at all relevant

 

 

 

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2. Plaintiff is the sole owner of the residential real property commonly Known as
424 East l\/lain Street, Potterville, l\/lichigan 48876 (hereinafter, “Subject Property”), and more

particularly described as:

LOT 7 AND THE EAST 1/2 OF LOTS 8 AND 9, BLOCK 24, IN THE VILLAGE
(NOW CITY) OF POTTERVILLE, ACCORDING TO THE PLAT THEREOF, AS
RECORDED IN LIBER 1 OF PLATS, PAGE 51B, EATON COUNTY RECORDS

3. Plaintiffis informed and believes and thereon alleges at all times mentioned
herein, defendant Nationstar Mortgage, LLC (hereinafter referred to as “NATIONSTAR”) is a
foreign limited liability company doing business in the State of l\/lichigan and County of Eaton.

41 Defendant DOES l-lO are sued by their fictitious names, their true names and
capacities are unknown to Plaintiff.

5. Plaintiffbelieves that each fictitiously named Defendant DOE l-lO is a person or
entity who participated in, assisted, was retained by, or counseled by one of the other
Defendant’s herein in connection with the acts alleged herein of which Plaintiff complains. At all
times herein mentioned each defendant was an agent, officer, board member, servant, employee,
partner, joint venturer of the other defendants and each of them and all times herein mentioned,
each defendant was acting within the course and scope of this relationship as an officer, board
member, agent, servant, employee, partner or joint venturer of the other defendants, and each of
them.

6. Defendants DOES l-lO, inclusive, are sued under fictitious names. When their
true names and capacities are known, Plaintiff is informed and believes and thereon alleges that
each of these fictitiously named defendants is legally responsible, negligently or in some other
actionable manner, for the events and happenings hereinafter referred to and proximately thereby
caused the injuries and damages to Plaintiff as hereinafter alleged, or claims some right, title,
estate, lien, or interest in the residence adverse to Plaintiff` s title. Said claims, constitute a cloud
on Plaintiff` s title in property, and are a result therefrom unlawful or fraudulent acts that resulted

in injury to Plaintiff` s property

 

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Plaintiff`s Verified Complaint

 

 

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JURISDICITON AND VENUE

7, Subject-matter jurisdiction for this Couit exists: pursuant to 28 U.S.C. Section
1331, because this is an action brought by a consumer for violations of the Fair Debt Collection
Practices Act (hereinafter “FDCPA”) (any reference to the FDCPA or any party thereof
encompasses all relevant parts and subparts thereto) 15 U.S.C. §1692 et seq.

8. The Court has personaljurisdiction over Defendant because they specifically
engaged in conduct injurious to Plaintiff who is located in the county of Eaton, state of
l\/lichigan. Defendant did this with the full knowledge that Plaintiff was and is in the state of
Michigan and county of Eaton, and that their actions would cause injury to Plaintiff in the state
of Michigan.

9. Venue is proper in the United States District Court for the Western District of
Michigan pursuant to U.S.C. section 1391.

INTRODUCTION

10. Plaintiff is proceeding, pro se in this case. Therefore, this Court must construe this
claim liberally and hold it to a less stringent standard than the Court would apply to a pleading
drafted by a lawyer. See, Laber v. Harvey, 438 F.3d 404, 413 n. 3 (4th Cir. 2006).

(a) ln Pz'ckz'ng, the plaintiffs civil rights were 150 pages long and described by a
Federal Judge as “inept.” The Court held that where a plaintiffpleads pro-se in a suit for
protection of civil rights, the court should endeavor to construe plaintiff s pleading without
regard to technicalities. Pz'ckz'ng v. Pennsylvanz`a Raz`lway, (151 F2d. 240) (N.J. is in 3r Cir.),
Third Circuit Court of Appeals.

(b) ln Walter Process Equz`pment v. Food Machz`nery, 382 U.S. 172 (1965) it was held
that in a “motion to dismiss, the material allegations of the complaint are taken as admitted.”
From this vantage point, courts are reluctant to dismiss complaints unless it appears the plaintiff
can prove no set of facts to support of his claim which would entitle him to relief. (See, Conley
vs. Gz'bson, 335 U.S. 41 (1957).

1 1. Moreover, Plaintiffs claim that statements of counsel in motion, briefs or in oral

arguments are not facts before this Court. (See, Trz`nsey v. Paglz`aro, 229 F . Supp. 647).

 

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12. Plaintiff in this action is a victim of unlawful acts perpetrated by Defendant, in
efforts to unlawfully foreclose on Plaintiff`s property. ln doing so, Defendant has made

numerous violation of the FDCPA.
DEFINITIONS

13. Under the FDCPA 15 U.S.C. § 1692a(4) the term “creditor” means any person
who offers or extends credit creating a debt or to whom a debt is owed, but such term does not
include any person to the extent that he receives an assignment or transfer of a debt in default
solely for the purpose of facilitating collection of such debt for another.

14. Under the FDCPA 15 U.S.C. § 1692a(5) the term “debt” means any obligation
or alleged obligation ofa consumer to pay money arising out of a transaction in which the
money, property, insurance or services which are the subject of the transaction are primarily for

personal, family, or household purposes, whether or not such obligation has been reduced to
judgment

15. Under the FDCPA 15 U.S.C. § 1692a(6) the term “debt collector” means any
person who uses any instrumentality of interstate commerce or the mails in any business the
principal purpose of which is the collection of any debts, or who regularly collects or attempts to
collect, directly or indirectly, debts owed or due or asserted to be owed or due another.

16. Under the FDCPA 15 U.S.C. § 1692e - A debt collector may not use any false,
deceptive, or misleading representation or means in connection with the collection of any debt.
17t Under the FDCPA 15 U.S.C. § 1692f- A debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.

18. Under the FDCPA 15 U.S.C. § 1692i - (a) Any debt collector who brings any

legal action on a debt against any consumer shall -- (l) in the case of an action to enforce an

 

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Plaintiffs Verified Complaint

 

 

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interest in real property securing the consumer's obligation, bring such action only in ajudicial
district or similar legal entity in which such real property is located.

GENERAL ALLEGATIONS
Plaintiff is informed and believes and therefore alleges that:

19. This alleged debt was acquired by Defendant after it was in purportedly in
default, according to FDCPA 15 USC 1692a(6), if a debt is acquired while in default the entity
that acquires it is considered to be a “debt collector.” This statute makes no exception regarding
the method of acquisition of the debt, so therefore it would not matter if the alleged debt was

acquired by or through a successor in interest, of if they were able to provide a copy of the
purchase assumption agreement which specifically lists the alleged debt .

20. Plaintiff in this action is a victim of unlawful acts perpetrated by Defendant, in
efforts to unlawfully foreclose on Plaintiff’ s property. According to the FDCPA, the only
method of foreclosure that a debt collector can avail themselves to would be a judicial
foreclosure, and even if Defendant was to prevail the judgment could only be for monetary
compensation, 15 USC 1692i. 1n taking the actions Defendant has taken by illegally attempting
to foreclose on Plaintiff s real property through use of non-judicial foreclosure, Defendant has
made numerous violations ofthe FDCPA.

21. Defendant is engaged in the collection of debts from consumers using the mail
and telephone. Defendant regularly attempts to collect debts alleged to be due to another. Under
the FDCPA 15 U.S.C. § 1692 a(6) the term “debt collector” means any person who uses any
instrumentality of interstate commerce or the mails in any business the principal purpose of
which is the collection of any debts, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another. Defendant here is a debt

collector under the FDCPA. Defendant is NOT a creditor or a lender.

 

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Plaintiff’s Verified Complaint

 

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22. ln addition, where a loan servicer becomes the loan servicer after the borrower is
in default, the loan servicer is a “debt collector” and becomes obligated to comply with the
FDCPA in all respects. See Santoro v. CTC Foreclosure Serv. Corp., 12 F. App’x. 476, 480 (9th
Cir. 2001); Kee v. R-G Crown Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining
‘that a loan servicer . is only a ‘debt collector’ within the meaning of the FDCPA if it acquires
the loan after it is in default’). See also Alz'brandrz' v. Fz`n. Otctsourcz`ng Servs., lnc., 333 F.3d 82
(2d Cir. 2003) (holding that a debt was in “default” and a service provider was a “debt collector,”
by virtue of the service providers collection letter declaring the debt in default and informing the
debtor that the service provide was, in fact, a debt collector)~ Here, Defendant obtained the loan
after it was in default

23. Federal courts have held that WFB must comply with the FDCPA. A Federal
District Court within the Ninth Circuit Court of Appeals has held that Wells Fargo Bank, N.A.
may be a debt collector required to comply with the FDCPA. Willz'ams v. Wells Fargo Bank,
N.A., Et al., 2012 U.S. Dist. LEXIS 2871 (W.D. WA, January 12, 2012).

24t ln Willz'ams, the consumers alleged Wells Fargo was in violation of federal debt
collection laws by failing to provide verification ofthe alleged debt. 15 U.S.C. §1692, et seq. ln
their motion to have the lawsuit thrown out, Wells Fargo did not claim that the bank had
provided verification of the debt to the consumers. lnstead, the bank asserted two reasons the
case should be dismissed First, WFB argued it was not a debt collector under the FDCPA. The
bank argued that the FDCPA only applies to “parties collecting the debt of another,” 15 U.S‘C. §
1692(a)(6), and that "creditors, mortgagors and mortgage servicing companies are not ‘debt
collectors’ and are exempt from liability under the [FDCPA].” ]a’. (citing Caballero v. OCWEN
Locm Servz`cz`ng, 2009 U.S. Dist. LEXIS 45213, 2009 WL 1528128, at *1 (N.D. Cal. 2009) and
Glover v. Fremont ]nv. andLoan, 2009 U.S. Dist. LEXIS 117890, 2009 WL 6114001, at *8
(N.D. Cal. 2009)). Simply put, Wells Fargo argued that because it was collecting its own debts it

was exempt from FDCPA liability Second, Wells Fargo claimed that the FDCPA does not apply

 

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Plaintiff’s Verified Complaint

 

 

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in a non-judicial foreclosure proceeding Basically, the bank argued that when there is a typical
foreclosure on a deed of trust, (where there is no lawsuit filed by the bank), the bank is not
attempting to collect money, and thus they are not really attempting to collect a debt. ln this case,
Defendant did not and has not verified the debt after Plaintiff has asked a numerous amount of
times.

25. The federal court disagreed with Wells Fargo on both grounds. The court
reasoned the term “debt collector” applies to those who acquired the debt when it was already in
default. See Schlosser v. Faz'rbanks Capl`tal Co)'p., 323 F.3d 534, 536 (7th Cir. 2003). The Court
noted that Wells Fargo admitted the debt had already been in default for one year when the deed
of trust was assigned to Wells Fargo, and thus Wells Fargo met the definition of a debt collector
under the FDCPAt Next, the Court ruled on the issue of whether foreclosing on property could be
considered an attempt to collect a debt, and it stated: “Although the Court is aware of district
court cases that have held that the act of foreclosing on property is not “debt collection” under
the FDCPA, this Court has not adopted such a per se holding and it will not do so here. See
Albers v. Nationstar Mortg. LLC, 2011 U.S. Dist. LEXlS 182, 2011 WL 43584, at *2 E.D.Wash.
Jan. 3, 2011) (citing cases). Nothing in the statute compels the Court to create an exception to the
definition of“ debt collector,” as Wells Fargo proposes, where a party isjudicially enforcing on
a security instrument rather than pursuing debt collection through more traditional means. To the
contrary, courts have reasoned that as long as a defendant meets the statutory definition of debt
collector, “they can be covered by all sections of the Act . . regardless of whether they also
enforce security interests. ” Wz`lson v. Draper & Goldberg, P.L.L.C., 443 F.3d 373, 378 (4th
Cir. 2006) (referring to § 1692f(6) as an inclusive provision); see also Kaltenbach v. Rz`chards,
464 F.3d 524, 528-29 (5th Cir. 2005) (noting that “the entire FDCPA can apply to a party whose
principal business is enforcing security interests but who nevertheless fits § 1692a(6)’s general

definition of debt collector”).

 

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Plaintiffs Verified Complaint

 

 

 

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26. Furthermore, Plaintiff is a “consumer” as that term is defined in 15
USC§ l 692a(3) since the alleged debt here deals with the purchase of a home, which means it’s a
debt incurred for personal family purposes

27. ln addition, where a loan servicer becomes the loan servicer after the borrower is
in default, the loan servicer is a “debt collector” and becomes obligated to comply with the
FDCPA in all respects See Scmtoro v. CTC Foreclosure Serv. CO)'p., 12 F. App’x. 476, 480 (9th
Cir. 2001); Kee v. R-G Ci'Own Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining
‘that a loan servicer . . . is only a ‘debt collector’ within the meaning of the FDCPA if it acquires
the loan after it is in default’). See also Alz'brana’rz` v. Fz`n. Outsourcz`ng Servs., ]nc., 333 F.3d 82
(2d Cir. 2003) (holding that a debt was in “default” and a service provider was a “debt collector,”
by virtue ofthe seivice providers collection letter declaring the debt in default and informing the
debtor that the service provider was, in fact, a debt collector).

28. Furthermore, Plaintiff is a “consumer” as that term is defined in 15
USC§1692a(3) since the alleged debt here deals with the purchase ofa home, which means it’s a

debt incurred for personal family purposes

29. Plaintiff does not have a contract with Defendants. Therefore, Defendants have no
standing
30. That collection of any alleged debt after having been written off or charged off

would be a case of unjust enrichment, and /or fraud on the consumer and/or fraud on the court.
31. To the best of Plaintiffs knowledge and belief, Defendants have used the mails of
the United States to attempt to collect from Plaintiff an alleged debt purportedly previously
owed to an “original creditor,” other than Defendants, which has purportedly been “charged
of .”
32. Defendant has violated FDCPA, 15 U.S.C. §1692e, because it made and/or
employed false, deceptive and misleading representations and/or means in connection with the

instant cause of action. Said false, deceptive and misleading representations were and have been

 

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made and are being made to credit reporting bureaus and others as more specifically set out
hereafter. Some or all of said false, deceptive and misleading representations were knowingly
and intentionally made by Defendants,

33. Defendants have violated the FDCPA, 15 U.S.C. §1692d because it has engaged
in conduct of which the natural consequence of which is to harass, oppress, or abuse Plaintiff in
connection with the alleged attempt to collect on this debt and foreclosure of Plaintiff s
property. Defendant knowingly and intentionally engaged in harassing, oppressive, and/or
abusive conduct toward Plaintiff. Defendant knew or should have known that the natural
consequences of said conduct would be to harass, oppress, or abuse Plaintiff.

34. Plaintiff, here was deceived, and Defendant misrepresented themselves implying
they Were entitled to act as a Creditor, and have initiated a non-judicial foreclosure against the
Subject Property even though at no time did Defendants have any proof that Plaintiff owed them
any alleged debt.

35 . Defendants have violated the FDCPA, and is liable to Plaintiff for statutory,
actual, and punitive damages thereon, attorneys’ fees, and costs. Said violations include, but are
not limited to violations of 15 U.S.C. §1692e, et seq. and 15 U.S.C. §1692d, et seq.

36. 4 Defendants have knowingly, intentionally, deliberately, and fraudulently

misrepresented, and/ or mislead what Plaintiffs legal status, character, and/or amount of
the alleged debt was in violation of15 U.S.C. §1692e(2), and in violation of
U.S.C.151692e(10).

37. By attempting to collect on this alleged debt, Defendants falsely,
knowingly, deliberately, fraudulently, and intentionally misrepresented to Plaintiff and all
other persons having or acquiring knowledge of the actions of Defendants against Plaintiff,
including credit reporting bureaus, and persons or entities Plaintiff might seek to obtain

credit from, present or future potential employers of Plaintiff, and other persons and

 

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Plaintiff`s Verified Complaint

 

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entities that it has the legal right to pursue this account in this Couit Defendant’s actions
all constitute violations of the FDCPA and the Fair Business Practices Act.

38. Defendant has not verified or produced: any accounting or financial
records, necessary to prove the breakdown of the purported “total” amount alleged to be
owed, with respect to its components, such as principal, interest, late fees, over limit fees,
etc. or their current license in the state of Michigan to act as a debt collector

FIRST CLAIM FOR RELIEF
VIOLATION OF THE FEDERAL FAIR DEBT COLLECTION PRACTICES ACT
(FDCPA), 15 U.S.C. § 1692 ETSEQ.

39. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set forth
herein.

40. Defendant is a “debt collectors” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

41. Plaintiffis a "'consumer” as defined by 15 U.S.C. § 1692a(3).

42. Defendant has violated the FDCPA in connection with its attempts to collect an
account against Plaintiff. Defendants violations include, but are not limited to, 15 U.S.C. §
1692d, 1692e7 1692e(2)(A), 1695e(5), l692e(8), 1692e(10),1692g 1692i.

43. Defendant engaged in conduct of which the natural consequence of which is to
harass, oppress, or abuse Plaintiff in connection with the collection of a debt. Defendant used
false, deceptive, or misleading representations or means in connection with the collection of a
debt which was supported by the unauthenticated assignments

44. Further, there is no specific amount of value indicated on this assignmenst; even if
Defendant were able to provide an authenticated Power of Attorney. (Plaintiff wants to reserve
the right to petition the Notary"s log for authentication and validation.) An accounting that is
signed and dated by the person responsible for the account has not been produced Claim of
damages, to be admissible as evidence, must incorporate records such as a general ledger and
accounting of the alleged debt, the person responsible for preparing and maintaining the account
general ledger must provide a complete accounting which must be sworn to and dated by the

person who maintained the ledger. See Pacific Conc)~ete F.C. U. V, Kazzanoe, 62 Haw. 334, 614

 

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P.2d 936 (1980), GE Capz'ml Hawaii, [nca v. YOnena/ca 25 P.3d 807, 96 Hawaii 32, (Hawaii App
2001), FoO/ts v. Norwl`ch HOusl`ngAuthorl`Zy 28 Conn. 1,. Rptr. 371, (Conn. Super.2000), and
Town ofBrookjield v. Candlewood Shores Estates, Inc, 513 A.2d 1218, 201 Conn.l (1986).

45. Non-judicial foreclosure, attempting to seize property is a violation of FDCPA 15
USC 1692i.

46. Defendants violated FDCPA by failing to validate the alleged debt as required by
15 USC1692g..

47. Plaintiff alleges that Defendants routinely ignored plaintiff s request for an
accounting and debt validation, and through their actions continued to violate FDCPA rules to
enhance their own profits.

48. Defendant"s conduct was negligent or willful or both, rendering it liable for
attempting to collect fees, interest, and expenses from Plaintiff that are not authorized by any
agreement or permitted by law, in violation of 1692f(l).

49. Defendant’s conduct was negligent or willful or both, rendering it liable for
failing to cease collection of an alleged debt, and not providing proper validation of the alleged
debt to Plaintiff. l692g(b).

50. As a result of the foregoing violations, Defendant is liable for actual damages,
including general damages and special damages in an amount to be proven at trial, but not less
than $2,000 per Plaintiff, pursuant to 15 U.S.C. §1692k(a)(1).

51. As a result of the foregoing violations, Defendant is liable for actual damages,
including general damages and special damages in an amount to be proven at trial, but not less
than $l,000 per Plaintiff, pursuant to 15 U.S.C. § l692k (a)(2)(A).

52. As a result of the foregoing violations, Defendant is liable for costs and
reasonable attorney’s fees pursuant to 15 U.S.C. § l692k (a)(3).

53. As a result ofthe foregoing violations, Defendant should be enjoined from
employing any of the unlawful conduct, methods, acts, or practices under the FDCPA alleged

herein or proven at trial.

 

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Plaintiffs Verified Complaint

 

 

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54. An actual controversy has arisen and now exists between Plaintiff and Defendant
concerning their respective rights and duties under the FDCPA. A judicial declaration that
Defendant"s actions violated the FDCPA is necessary so that all parties may ascertain their rights
and duties under the law.

55. Based on the allegations above and further set forth herein, Defendant violated 15
U.S.C. §1692d by (l) engaging in conduct the natural consequence ofwhich is to harass,
oppress, or abuse plaintiff without limitation; (2) Continuing to pursue collection of disputed and
unverified debt; (3) attempting to foreclose on Plaintiff s property; (4) forcing Plaintiff to defend
against an invalid action. Defendant knew or should have known that it has engaged in such
conduct, and the said consequences thereof

56. Upon information and belief, Defendant has communicated credit information to
persons, including but not limited to credit reporting bureaus or agencies, with respect to
Plaintiff, which it knew or should have known to be false - including without limitation
allegations that Plaintiff owed the purported debt which is the subject of this action, and/or that
Plaintiff owes said debt to Defendant and/or that Defendant are the original creditor of said
alleged debt.

57. Upon information and belief, Defendant is in violation of 15 U.S.C. §1692e(8),
because Defendant failed to communicate to Plaintiff, other persons and entities, including credit
bureaus, and persons yet to be determined that Plaintiff has disputed the alleged debt.

58. An actual controversy has arisen and now exists between Plaintiff and Defendant
concerning their respective rights and duties under FDCPA. A judicial declaration that
Defendant’s actions violated the FDCPA is necessary so that all parties may ascertain their rights
and duties under the law.

59. By falsely representing that Defendant is either an assignee of an original creditor,
and/or that said assignment constitutes a proper, competent, or valid assignment between
Defendant and the original creditor of any alleged debt by any alleged original creditor to
Defendant, and/or that Defendant is the original creditor, Defendant has made material, false and
misleading representations, and has further communicated to Plaintiff and other persons credit

information which is known or which should be known to be false, including the above, the

 

 

 

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Plaintiffs Verified Complaint

 

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failure to communicate that a disputed debt is disputed, the “i'e-aging"’ of said debt, the false and
misleading representation and impression that Defendant is the original creditor of said debt, and
other material false and misleading representations, and has violated 15 U.S.C. §1692e, 15
U.S.C. §1692e(8), §1692e(2)(A), § 1692e(5), § 1692e(10) and § 1692f Defendant either knew or
should have known all ofthe above.

60. Under the FDCPA 15 U.S.C. § 1692f - A debt collector may not use unfair or
unconscionable means to collect or attempt to collect any debt; taking or threatening to take any
non-judicial action to effect dispossession or disablement of property if_(A) there is no present
right to possession of the property claimed as collateral through an enforceable security interest
ln Armacost v. HSBC Barzk USA, No. 10-CV0274-E1L-L1\/1b, 2011 WL 825151 (Dt ldaho Feb. 9,
201 1) the plaintiff generally alleged violations of 15 U.S.C. § 1692f and argued that defendant
did not have standing to foreclose on the deed of trust. Defendant here also does not have
standing to foreclose The court first noted that the definition of “debt collection” found in 15
U.S.C. § 1692a(6) included the following sentence: “For the purpose of section 1692f(6) ofthis
title, [_a debt collector] also includes the principal purpose of which is the enforcement of security
interests.” ]d. lt then explained that 15 U.S.C. § 1692f(6) prohibits a debt collector from “taking
or threatening to take any non-judicial action to effect dispossession or disablement of property
if (A) there is no present right to possession of the property claimed as collateral through an
enforceable security interest” ld. at n.5 (quoting 15 U.S.C. §1692f(6). The case stated, “if ‘debt
collection’ generally included the enforcement of a security interest, the language specifying so
for the purposes of §l692f(6) would be surplus, and such a construction would violate a ‘1ong
standing canon of statutory construction that terms in a statute should not be construed so as to
render any provision of that statute meaningless or superf1uous.” ]d. (quoting Beck v. Prupz`s, 529
U.S. 494, 506 (2000)) (footnote omitted). The court thus concluded that while “a non-judicial
foreclosure action generally does not constitute a “debt collection activity” under the FDCPA,”
an exception to this rule existed for claims under 15 U.S.C. 1602f(6) Id.

61. The FDCPA, §l692k, provides for actual damages, statutory damages up to one-
thousand dollars ($1,000.00) per violation, costs ofthe action, and reasonable attorneys’ fees

Plaintiff has suffered actual damages as the proximate and actual cause and result of the

 

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Plaintiffs Verified Complaint

 

 

 

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violations ofthe FDCPA by Defendant to be determined at trial. Defendant is liable to Plaintiff
for statutory damages as prescribed by §l692k (a)(2)(A), actual damages pursuant to §
l692k(a)(l) in an amount to be determined at time of trial, and reasonable attorneys’ fees and
costs pursuant to §1692k(a)(3).

62. Courts will carefully scrutinize non-judicial foreclosures and set them aside if the
borrower’s rights have been violated Sl‘z`rton v. Pastoi' (1960) 2 Cal. Rptr. 135, 177 Cal. App. 2d
232.

63. Plaintiff hereby prays for actual damages under the FDCPA, and for statutory
damages as set forth above for each and every violation of the FDCPA proven at the trial of this

case, and reasonable attorneys’ fees and costs thereunder

SECOND CLAIM FOR RELIEF

 

ACCOUNTING
64. Plaintiff re-alleges and incorporates by reference all the preceding paragraphs as
though fully set forth herein.
65. Plaintiff is a consumer as set forth above and the alleged debt owed is a consumer
debt pursuant to the FDCPA.
66. Defendant is a debt collector in the business of collecting debts.
67. The elements for a claim for accounting are: (i) a fiduciary relationship or other

circumstances appropriate to the remedy, and (ii) a balance due from the plaintiff to defendant
that can only be ascertained by an accounting

68. Defendant has held themselves out to be plaintiff s creditor and mortgage
servicer. As a result ofthis purported relationship, said defendant has a duty to plaintiffto
properly account for payments made by plaintiff l\/loreover, a fiduciary relationship between the
parties in not required to state a cause of action for accounting All that is required is that some
relationship exists that requires an accounting

69. Plaintiff believes and is informed that the amount claimed due and owing is not

correct.

 

 

 

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70. Plaintiff has a reasonable and good faith belief that the claimed arrearages include
improper excess charges and fees imposed by the defendant without plaintiffs knowledge or
consent7 which are not allowed by law.

71. lt would be inequitable and unconscionable for defendant to retain the profit,
benefit, and other compensation they obtained from their fraudulent, deceptive, and misleading
conduct alleged herein. Therefore, these monies are due to be credited back to plaintiff in full.

72. 1`he actual amount of the arrearages on plaintiff’s loan and the actual amount of
money due from plaintiff to defendant, and vice versa, is unknown to plaintiff and cannot be
ascertained without an accounting of the receipts and disbursements of the aforementioned

transactions

THIRD CLAIM FOR RELIEF
lNTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

73. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set
forth herein.

74. Defendant’s acts and/or omissions were done intentionally and/or with gross
indifference to Plaintiff’s rights

75 . Plaintiffs emotional distress includes, but is not limited to, extreme
humiliation, anxiety and a loss of sleep. As a result of the Defendant’s conduct, Plaintiff has
suffered compensatory, general, and special damages in an amount according to proof.
Additionally, Defendant acted with malice, fraud and/or oppression, by attempting to take
Plaintiffs property through foreclosure when they have no legal right to do so, and thus,
Plaintiff is entitled to an award of punitive damages

FOURTH CLAIM FOR RELIEF
INJUNCTIVE RELIEF
76. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set

forth herein.

 

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77. At all times relevant, Defendant, has wrongfully and unlawfully threatened
Plairitiffs quiet enjoyment and use of his real property,

78. Defendant threatened conduct, unless and until enjoined and restrained by this
Court will cause great and irreparable injury to Plaintiffin that it Plaintiff will be deprived of
the quiet use and enjoyment of his real property.

79. Not only did Defendant threatened conduct cause great and irreparable harm to
Plaintiff unless and until enjoined that same threatened conduct will cause great and
irreparable harm to Plaintiffs family.

80. ln this case, the irreparable harm that Plaintiff will suffer is obvious and
enormous Plaintiff will lose his real property and will be ultimately evicted from his home.
Plaintiff will incur the cost and emotional distress of losing his home and repairing his further
damaged credit history. Undeniably, Plaintiff will suffer severe damages

FIFTH CLAIM FOR RELIEF
QUIET TITLE
81. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set

forth herein.

82. On or about l\/larch 17, 2006, Plaintiff executed a Mortgage with Bank of
America, N.A. (A true and correct copy of the Mortgage is attached as Exhibit 1),

83. On or about August 9, 2012, Nationstar Mortgage, LLC executed an
Assignment of Mortgage, as an attorney-in-fact of Bank of Arnerica, N.A. The Assignment of
Mortgage was recorded on September 24, 2012 in the State of l\/lichigan, Eaton County. (A
true and correct copy of the Assignment of Mortgage is attached as Exhibit 2).

84. On or about October 23, 2012, a Corporate Assignment of Mortgage was
executed by Bank of America, N.A. The Corporate Assignment of Mortgage was recorded
November 5, 2012. Mortgage, LLC executed an Assignment of l\/lortgage, as an attorney-in-

fact of Bank of America, N.Ai The Assignment of Mortgage was recorded on September 24,

 

 

 

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2012 in the State of Michigan, Eaton County (A true and correct copy ofthe Corporate
Assignment of Mortgage is attached as Exhibit 3).

85. 1`he Assignments recorded create several questions of fact as to who actually
owns Plaintiffs Mortgage and who has the right to collect payments from the Plaintiff.

86. Plaintiff alleges that the Assignment executed by Defendant are forged
fraudulent Assignments that Defendant is using to foreclose on Plaintiff s home.

87. Plaintiff is informed and believes and thereupon alleges that Defendant Nationstar
and Does 1-10 claim an interest in the property adverse to plaintiff herein. However, the claim of
said Defendant is without any right whatsoever, and said Defendant has no legal or equitable
right, claim, or interest in said property

88. Plaintiff therefore seeks a declaration that the title to the subject property is vested
in plaintiff alone and that the defendant herein, and each of them, be declared to have no estate,
right, title, or interest in the subject property and that said defendant, and each of them, be
forever enjoined form asserting any estate, right, title or interest in the subject property adverse

to plaintiff herein.
89. Plaintiff is informed and believes and thereupon alleges that by no means is

Plaintiff seeking to undo a foreclosure sale after the fact.

CONCLUSION

Here, Defendant does not have standing or the enforceable right to take possession of
Plaintiff s Property, because of the failure to comply with strict statutory, legal contractual
duties Said action will result in the wrongful foreclosure of the Property Being that
Defendant is a debt collector the only remedy they are entitled to would be a judicial
foreclosure. However, knowing that they would not have to prove standing or the proper
documentation they are attempting foreclosure through non-judicial foreclosure and thereby
violating the FDCPA.

Further, Plaintiff is concerned that Defendant and DOES 1-10, unless restrained will

attempt to remove Plaintiff from the possession of the Subject Property by an unlawful

 

 

 

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Plaintiff`s Verified Complaint

 

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detainer action. Defendants is knowledgeable that any such action would cause irreparable
harm to the Plaintiff, as well as cause monetary compensation which will not afford adequate
relief because Plaintiffs property is unique.

1`hereby, Plaintiff respectfully request that a temporary restraining order is necessary
to ensure that Plaintiff and his family are not displaced before the court has had an opportunity
to hear, and adjudicate the case as to its merits, and whether or not it can proceed to a hearing

in front of ajury.

PRAYER

WHEREFORE, Plaintiff having set forth the claims for relief against Defendant,
respectfully pray that this Court grant the following relief against the Defendant:

1. For equitable relief, including an Order for Defendant to rescind all Notices of
Default against Plaintiff`s account and to engage in reasonable efforts to restore Plaintiff's credit
to its previous standing and by entering a statement which says “Paid as Agreed”;

2. F or a temporary and preliminary injunction enjoining Defendant from transferring
the Subject Property of or from taking any action to evict Plaintiff from his home during the
pendency of this action;

3. That the Court issue a declaration that the Defendant be required to release the lien
on the Subject Property;

4. That the Court Grder judgment quieting title to Plaintiff as the owner of the Subject
Property and that all Defendant has no title, right to the estate, lien or interest in the property;

5. That the Court enter a judgment declaring Defendant’s actions and practices

complained of herein to be unlawful, unfair, and fraudulent;

 

 

 

6. F or injunctive relief against Defendant to prevent future wrongful conduct;
7. That Plaintiff recover costs, and reasonable attorney fees, if incurred;
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8. That Defendant be required to specifically prove all allegations in this action;

9. For general damages and special damages in an amount to be proven at trial, but
not less than $2,000 per Plaintiff, pursuant to 15 U.S.C. 1692(1<) a l;

10. For actual damages including general damages and special damages in an amount
to be proven at trial, but not less than 81,000 per cross-complainant, pursuant to 15 USC 1692(k)

11. For costs and reasonable attorney’s fees pursuant to 15 USC 1692(k) a 3.

12. For ajudicial declaration that Defendant’s actions violated the FDCPA;

13. For Punitive damages; and

14. For such other and further relief as the Court may deemjust, equitable and proper.

Dated: June 11, 2015 l///' y 1 §735</-//:1\7
¢%e/é§ § 50 \='>:_/"

l\/lichael Barnhart- Plaintiff in Pro Se

 
 
     

DEMAND FOR TRIAL BY JURY

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Michael Bamhart - Plaintiff rn Pro Se

Plaintiff demands a trial by jury

Dated: June 11, 2015

 

 

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VERIFICATION
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Plaintiffs Verified Complaint

 

 

 

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1, l\/lichael Barnhart, acknowledge that 1 am the Plaintiff in the above-entitled action. The
same is true of my own knowledge, except as to those matters which are therein alleged on
information and belief, and as to those matters, 1 believe them to be true.

l declare under penalty of perjury under the laws of the State of l\/lichigan that the
foregoing is true and correct

Executed at Potterville, l\/lichigan this llth day of June, 2015.

 

l\/lichael Barnhart - Plaintiff in Pro Se

 

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Plaintiffs Verified Complaint

 

 

 

